   Case: 3:22-cr-00008-RAM-RM            Document #: 59      Filed: 05/03/22     Page 1 of 2




                            DISTRICT COURT OF THE VIRGIN ISLANDS
                             DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
                       v.                        )      Case No. 3:22-cr-0008
                                                 )
YEFRI MARTINEZ HERRERA and KELLY                 )
BRUNEY,                                          )
                                                 )
                       Defendants.               )
                                                 )

                                               ORDER
       BEFORE THE COURT is the United States of America’s (the “United States”) Motion
to Continue Trial. (ECF No. 48.) For the reasons stated herein, the Court will grant the motion.
The time to try this case is extended up to and including October 3, 2022.
       On April 22, 2022, the United States filed the instant motion to continue. The motion
asserts that the United States has requested the English translations of “numerous” Spanish
language recorded conversations and anticipates that this request will take “several months”
to be completed. Id. at 1. The United States further asserts that it is awaiting the results of
laboratory testing from the Drug Enforcement Administration (“DEA”). Id. Finally, the United
States asserts that the instant case is being reassigned to a different Assistant United States
Attorney who requires additional time to effectively prepare for trial. Defendant Yefri
Martinez Herrera does not object to the motion. Id. at 2. Defendant Kelly Bruney also does
not object to the motion, but counsel for Defendant Bruney has “indicated that he does not
waive his client’s speedy trial rights.” Id.
       While the Speedy Trial Act requires that defendants be tried within seventy days of
indictment, the Court specifically finds that extending this period would be in the best
interest of justice. Here, an extension of time is necessary to allow the United States to receive
English translations of evidence, to receive the DEA report, and for the newly assigned
attorney to prepare for trial.
       Consistent with these concerns, the United States Court of Appeals for the Third
Circuit has recognized that “whether or not a case is ‘unusual’ or ‘complex,’ an ‘ends of justice’
   Case: 3:22-cr-00008-RAM-RM                 Document #: 59          Filed: 05/03/22        Page 2 of 2
United States v. Herrera et al.
Case No.: 3:22-cr-0008
Order
Page 2 of 2

continuance may in appropriate circumstances be granted.” United States v. Fields, 39 F.3d
439, 444 (3d Cir. 1994); see also United States v. Van Chase, 137 F.3d 579, 583 (8th Cir. 1998)
(suggesting that a continuance granted due to "a testing backlog at the FBI labs" was proper);
United States v. Dota, 33 F.3d 1179 (9th Cir. 1994) ("An ends of justice continuance may be
justified on grounds that one side needs more time to prepare for trial [even if the] case [i]s
not 'complex.'"); 18 U.S.C. § 3161(h)(7)(B)(iv) (courts should consider "[w]hether the failure
to grant such a continuance in a case which . . . would deny counsel for the defendant or the
attorney for the Government the reasonable time necessary for effective preparation").
         The premises considered, it is hereby
         ORDERED that the United States’ motion to continue trial, ECF No. 48, is GRANTED;
it is further
         ORDERED that the time beginning from the date of this order granting an extension
through October 3, 2022, SHALL be excluded in computing the time within which the trial in
this matter must be initiated pursuant to 18 U.S.C. § 3161; it is further
         ORDERED that the parties SHALL file and serve a pre-trial brief no later than
September 23, 2022, which shall include the following: (a) proposed list of witnesses; (b)
proposed list of exhibits; (c) estimated length of case-in-chief and case-in-defense; (d)
proposed non-standard voir dire questions; and (e) proposed non-standard jury instructions
related to the elements of the charges and defenses; it is further
         ORDERED that the parties SHALL provide the Clerk of Court with a USB Flash Drive
containing electronic versions of exhibits no later than September 28, 2022; 1 and it is further
         ORDERED that the Jury Selection and Trial in this matter SHALL commence promptly
at 9:00 a.m. on October 3, 2022, in St. Thomas Courtroom 1.


Dated: May 3, 2022                                          /s/Robert A. Molloy
                                                            ROBERT A. MOLLOY
                                                            Chief Judge



1 Counsel are advised to consult with Court technical staff to determine the proper format for saving electronic

versions of exhibits. The Government’s trial exhibits shall be labelled sequentially beginning with
Government’s Exhibit 1. Defense exhibits shall be labelled sequentially beginning with Defense Exhibit A.
